                           IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                                 Civil Action No.: 1:18-cv-1046


HUI MINN LEE,                                )
     Plaintiff,                              )
                                             )
                                             )
       vs.                                   )       Hui Minn Lee Second Declaration
                                             )
                                             )
MARKET AMERICA, INC.,                        )
    Defendant.                               )


I, Hui Minn Lee, declare under penalty of perjury pursuant to 28 USC §1746 as follows:

1.     My name is Hui Minn Lee, and I am over the age of eighteen (18) years. I am also known

as “Nadine.”

2.     I give this declaration freely and voluntarily, and I am mentally competent to attest to the

facts stated herein.

3.     The statements herein are based on my personal knowledge, and are true to the best of

my knowledge.

4.      In August, 2016, Lilianna Camara (Camara) was secretively promoted to a newly created

position, Global Training Manager, by then supervisor, Colbert Trotter (Trotter), the Director of

Training Department. Upon learning in early September, 2016 of Camara’s promotion and

learning that only I was required to report to Camara, I complained to Trotter about my

demotion. In the meeting, I complained about the secrecy of the promotion process which

stripped me of my right to be eligible for the newly created manager position based on my

qualifications which included my long-term working experience, knowledge of the MPCP

(Management Performance and Compensation Plan) business model and great contributions to



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the company's business and profits. For example, Market America Taiwan which I helped set up

in 2005 and 2006 and provided continuing supports ever since, makes up almost 50% of total

revenue of the whole Market America company. In the beginning, Camara was hired to be my

assistant. I trained and supervised Camara until Trotter decided she would directly assign

training to Camara. During the September, 2016 meeting, I complained to Trotter that I was

being discriminated against based on my race, national origin and age by secretively promoting

Camara to the manager position and putting only me (not all employees in the Training

Department) under Camara’s supervision. During the meeting, I also complained to Trotter that

Camara had always had a discriminatory animus toward Chinese including me, and Camara

would negatively affect my employment if she were to become my manager. In response to my

complaints and in an effort to decrease Camara’s impact over me, Trotter agreed to retain

supervisory authority over me and in the meantime promoted me to Global Training Project

Manager.

5.     Although Camara did not become my manager at that time, she constantly interfered

with my work. From October, 2016 to December, 2016, she instructed Henri Hue (Hue),who

was hired by and reported to Camara, to attend PMI (Product Management Information)

meetings which was my sole responsibility as Global Project Training Manager. When Trotter

announced her departure from Market America in early November 2016, the whole training

department was asked to report to Sherry Spesock (Human Resource Director). I asked Trotter

to hold a department meeting to clarify job responsibilities of each training department member

with Trotter, I, Hue, Camara and Cherri Walston (Walston) present.

6.     As Camara’s attitude continued to negatively impact me, on December 7, 2016, I went

back to my office for a Market Malaysia Opening Support Meeting during my PTO. Camara saw




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me and asked me to come into Trotter's office. In that meeting, Camara informed me that she had

been promoted to head of the Training Department. During the meeting, Camara expressed her

dislike of my working attitude and stating that my bad working attitude was due to my culture.

Also, Camara wanted me to give my corporate MPCP project to Hue because Hue, a young

African male, could use this project as a platform to build up his network and enhance his career

in the company. Camara also mentioned that she was not satisfied with how I had handled MPCP

Training in the past. I responded to Camara that I did not agree with her comments because

Camara had never been involved with MPCP, but I was willing to accommodate Camara's

suggestions. I also told Camara I was willing to share MPCP responsibilities with Hue as long as

he was willing to learn MPCP Training first and become qualified (Hue had been on job for only

eleven months and had no experience with MPCP at all). MPCP is the most important business

program in Market America, and the corporate MPCP Training is designed for upper

management new hires and existing management team's refreshment class. I initiated, developed

and taught the program for the past sixteen (16) years. To be qualified for such high-level

training it demands a total understanding of company business model and policies, and requires

the qualification of a senior trainer with long term experience with company.

      On approximately December 8, 2016, I decided to report and complain about Camara's

demands and harassing conduct to Spesock. I informed Spesock that I believed Camara had

created a hostile work environment in retaliation for my concerns about reporting to Camara

when Camara was promoted in August, 2016. In this meeting, I first complained that Market

America didn't provide equal opportunity for me to apply for the Head of Training position. I

also complained to Spesock that Camara discriminated against me because of my race, national

origin and age by demanding that I give up my major job responsibility to a young African junior




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trainer and attacking my culture. I asked Spesock for help to get out of such a hostile working

environment just like I asked Trotter to help out. I asked the possibility of not having to report to

Camara as a remedy; but the answer was “No,” because it was Marc Ashley's decision. Spesock

also promised that she would talk to Camara to resolve my complaint of discrimination but I

would still have to report to Camara. After the meeting with Spesock, I returned to my office

and saw Camara in her office. I told Camara what I did with Spesock the day before, and

informed her that Spesock would talk to her about my concerns. To my surprise, Camara became

furious and began attacking me. Camara said that based on her observation as a colleague in the

past three years, I was an imposer because I dictated the MPCP program; I never listened to my

former bosses; I dumped work on her; I was never a team player and she would never tolerate

this behavior under her management. I responded to Camara that if I were not a team player and

had always resisted my former boss's requests, I wouldn't have been able to survive so many

managers and become one of the longest working employees in the department and in the

company, and the truth was exactly the opposite of Camara's accusations. Camara then replied

that the problem was my culture and that I couldn't recognize my own problems; and, that the

cultural difference between us made it hard for her to work with me. Finally, despite the

comments from Camara, I offered to have an opportunity to work with her and hoped Camara

would forget about all the prior things and start over.

       It was the toughest time in my life after such turmoil. I was on vacation and my future

boss had a racial attitude of animus toward me. I was worried that I wouldn't survive under

Camara. After thorough thinking, I decided that I had to officially report the conversation I had

with Camara to Spesock per Market America’s discrimination policies. On December 12, 2016, I

reported the incident to Spesock. I complained to Spesock that Camara verbally attacked me




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personally and also my culture. Camara harassed me based on my race. I also brought my

concerns to Spesock that Camara wouldn't allow me to survive in the department. In the meeting,

Spesock promised to address the reported discrimination and kept saying the problems would be

resolved. Spesock advised me to tolerate the hostile and harassing attitude of Camara's. At the

same time, Spesock scheduled a meeting for January 3, 2017 for herself, me and Camara to

resolve the complaints brought up by me.

7.      Camara brought Hue to the January 3, 2017 meeting. In that meeting, the conclusions

were that I and Hue would continue our work as outlined in the previous job responsibility

meeting set-up by Trotter in November, 2016. More specifically, I would train Hue the MPCP

training if he wanted to learn; I would provide MPCP materials to Hue to upload to Confluence;

and Hue was solely responsibility for Unfranchise Service (UFS) new-hire training and

Confluence Projects.

8.      From January to September in 2017, I had provided the following trainings:

               1) MPCP series: 5 times
               2) Certified trainer class: 2 times
               3) Mandarin how to provide Customer Service Training
               4) 3rd shift Mandarin refresh training
               5) 3rd shift Mandarin UFS Training 6 weeks
               6) UK new hire training: 2 times 4 weeks
               7) TW, HK, SG training 4 weeks
               8) PIM (Product Information Management) New PM: 4-5 times
               9) PIM refresh: 20+ PM
               10) NEO each month
               11) TW, HK, SG: New UFMS report Training
               12) DMC training
               13) Mandarin Advance commission Training
               14) Mandarin Data Collection Training
               15) Malaysia Call Center Opening Training
               16) Malaysia Country Manager training
               17) Malaysia UF Services Manager Training
               18) PR Director MA business Training
               19) Mandarin Translator Training 2 times
               20) Support and Answer Questions for Asia Markets



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               21) When let go: On going Mandarin Advance commission Training and UK
               training, MPCP was scheduled.


9.      Market America has argued in their summary judgment brief that my termination is

legitimate because I didn't perform my job to their expectation, but they couldn't provide any

substantive evidence. The truth is that I not only met MA's expectations but also exceeded them.

All the justifications to terminate me are totally false statements without evidence to support

them and are fabricated after I initiated the lawsuit. The October 5, 2017 discharge/position

elimination occurred because I was told by Spesock and Camara that my Chinese-speaking talent

was no longer needed in the training department. That was why I was asking Spesock to help me

find a bilingual position in another department within the company.

10.      The elimination of my Global Training Project Manager title and position was already

decided in early 2017, right after my complaint of discrimination to Spesock in December, 2016,

and I believe the decision was made between January and February, 2017. In early months of

2017, Spesock and Camara decided to eliminate my manager title and my position after they

found a Chinese-speaking employee and trained the person to become a Chinese-speaking

training specialist. They identified Rose Chaffin (“Rose”), who applied to the Unfranchise

Services Department (UFS) as a first-shift Chinese-speaking customer service representative in

December, 2016. Rose reported to work in February, 2017 with the rest of third-shift Chinese-

speaking UFS new hires. Rose was requested by Camara to attend my training class which was

specifically created under the demand of Camara for the third-shift Chinese-speaking UFS

department new hires. In the meantime, Hue conducted the first shift UFS new-hire training.

Rose primarily attended Hue's class because she was first-shift and bilingual. My class started on

February 23 and ended on March 30, 2017.




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11.        The Unfranchise Services Department(UFS) third-shift Chinese-speaking new-hire

training was created at that time only because all new hires can't speak English at all according to

Camara's explanation; and I had to teach the class because I was the only Chinese-speaking

trainer in the training department. Market America argues that there were seven trainees in my

class with improper training which caused tremendous damage to company and I was terminated

for that reason. The facts are there were only three trainees attending the 2017 February/March

class and all are bilingual, including Rose Chaffin. (Exhibit L, MA574 - MA578). The weird

things were that Rose showed up in my class occasionally. She was not a regular trainee in my

class. She attended Hue's class at a different time of the day. I believe she just came to my class

to learn my teaching skills and to get my training materials for her future training uses. She had

no prior experience with Market America's UFS department but she could inexplicably judge that

my training was insufficient and incomplete according Camara.

12.         My 2016/2017 Job Performance Evaluation was undertaken on April 13, 2017 by

Spesock which was a one-on-one interview. The third shift UFS Chinese-speaking training was

just finished in March (five-week training not four). It is unimaginable that Spesock, who had

just had a meeting with Camara and Brandi Foster regarding my training performance didn't

even mention it during the performance evaluation interview.

13.       The second Chinese-speaking new-hire training requested by Camara which was to be

held on July, 2017 was another setup by Camara. The only trainee could speak 50% of English,

which is very high among Chinese-speaking employees in Market America. Camara lied again

about trainee's English capability, so she could force me to conduct extra training. It was very

odd that after they claimed that I had a bad training attitude and they were going to use that as a

reason to terminate me, they were still asking me to train. ( Exhibit C, Camara depo. @ p. 38,




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line 15- p. 42, line 10). They were not afraid that my training capability had already caused

damage to company. In fact and to the opposite, Camara praised me for the team work when she

asked me to do the second training again in her email. (Exhibit M, Email and Memo, MA071 –

MA073).

14.        The Confluence Software was not released until June 2017. Camara never asked me to

get involved with the program. Camara was very hostile to me and she never really talked to me

in 2017.

15.        When I was discharged, the training department had five employees which consisted of

two Black, two Hispanic (including Camara), and myself (Chines-speaking Taiwanese). The

trainings requested and done by me for domestic and international training were always more

than 50% of the total training load of the training department. Market America makes the

majority of its revenues from Chinese-speaking associates domestically and internationally, and

accordingly hires majority of its UFS customer services representatives who speak Chinese, and

they all trained through me. I alone took care of the biggest market, Market Taiwan, which I

alone set up in 2005 and 2006, and Market Taiwan makes up almost 50% of total revenues.

When I was discharged on October 5, 2017, I was the oldest employee in the Training

Department and HR Department with the longest employment history with Market America.



********************************************************************

The declarant further sayth not.




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I declare under penalty of perjury that the foregoing is true and correct.

This the 2nd day of February, 2022.



__________________________________
Hui Minn “Nadine” Lee




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                      Exhibit L

          Night Shift Trainees
           (trained by Lee)




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                      Exhibit M

        Email Requesting Lee
         to Train New Hires




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5/6/2019                                                                     Mail - Sherry Spesock - Outlook



        FW: UFS New hire training

        Liliana Camara
        Thu 6/22/2017 9:50 AM
        To: Sherry Spesock <sherrys@marketamerica.com>
        FYI... Interesting

        Liliana Camara
        Global Training Manager
        Direct 336-389-6786
        Fax: 336-605-0041
        Email lilianac@marketamerica.com
        1302 Pleasant Ridge Rd | Greensboro, NC 27409

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       From: Brandi Foster
       Sent: Thursday, June 22, 2017 9:23 AM
       To: Liliana Camara <lilianac(S)marketamerica.com>
       Subject: RE: UFS New hire training

       Good morning,
       As an FYI - Nadine spoke with me yesterday morning. She stated that she will be very busy during the month of
       July preparing for her Malaysia trip and would only be available for 2 hours per day for the "book training." Any
       system training she asked for my help in that I find a resource within my department to teach the new employee.

       I told her that we would work it out with my department. She stated that she hadn't had a chance to review this
       with you just yet, but I thought you'd like to know.

       Let me know if you have any questions/concerns regarding.

       Thank you,

       Brandi M. Foster
       Global Director | Account Services
       Direct: (336) 478-4106
       Email: brandif@marketamerica.com
       1302 Pleasant Ridge Rd | Greensboro, NC 27409

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5/6/2019                                                                     Mail - Sherry Spesock - Outlook

       From: Liliana Camara
       Sent: Tuesday, June 20, 2017 6:01 PM
       To: Brandi Foster <brandifta)marketamerica.com>: Nadine Lee <NadineL<5>marketamerica.com>
       Subject: UFS New hire training

        Nadine,

       UnFranchise Services will be interviewing a potential candidate for the Mandarin team on
       Friday, June 23rd. If the interview goes well and we extend him an offer, we are going to need
       your support for training as this person does not speak English at all, thus won’t be able to
       attend Henri’s training class.

       With this in mind, the idea is that if all goes well, well also try to get him on board as soon as
       possible (may be as soon as July 3rd) so we can do the training during the month of July,
       before Convention and potentially Malaysia.

       Brandi,

       Ill be out on PTO from June 23rd to July 4th so please reach out to Nadine as soon as you
       have any updates on the result of this interview so you can coordinate the training schedule
       with her.

       As always, thank you both for all your effort and team work!

       Liliana Camara
       Global Training Manager
       Direct 336-389-6786
       Fax: 336-605-0041
       Email lilianac@marketamerica.com
       1302 Pleasant Ridge Rd | Greensboro, NC 27409

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Terri Cox

From:                               Nadine Lee
Sent:                               Wednesday, July 5, 2017 2:31 PM
To:                                 Brandi Foster; Henri Hue
Subject:                            RE: New Employee - Li Cox (Mandarin Speaking)


That is great; she should be fine in Henri's class.

Nadine


From: Brandi Foster
Sent: Wednesday, July 5,2017 2:26 PM
To: Nadine Lee <NadineL(5)marketamerica.com>; Henri Hue <HenriH@marketamerica.com>
Subject: New Employee - Li Cox (Mandarin Speaking)

Hi,
Just an FYI -1 spoke with Rose who confirmed that Li Cox speaks/understands 50% of the English language. She comes
from the restaurant industry so interacting with English speaking customers she's accustomed to ©

Thank you.

Brandi M. Foster
Global Director | Account Services
Direct: (336) 478-4106
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Terri Cox

From:                                          Liliana Camara
Sent:                                          Tuesday, August 1, 2017 9:47 AM
To:                                            Nadine Lee
Subject:                                       RE: Quick question


Thanks!


Liliana Camara
Global Training Manager
Direct 336-389-6786
Fax: 336-605-0041
Email lilianac@marketamerica.com
1302 Pleasant Ridge Rd | Greensboro, NC 27409
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From: Nadine Lee
Sent: Tuesday, August 01, 2017 9:46 AM
To: Liliana Camara <lilianac@marketamerica.com>
Subject: RE: Quick question

I am planning to have a class starting in the last week of August or the first week of Sep.

Nadine


From: Liliana Camara
Sent: Tuesday, August 1,2017 9:44 AM
To: Nadine Lee <NadineL@marketamerica.com>
Subject: Quick question

Nadine,

Do you have a date for the next MPCP class?

Liliana Camara
Global Training Manager
Direct 336-389-6786
Fax: 336-605-0041
Email Iilianac@marketamerica.com
1302 Pleasant Ridge Rd j Greensboro, NC 27409
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